                      Case 19-12220-KBO            Doc 36      Filed 10/18/19        Page 1 of 1

                         UNITED STATES BANKRUPTCY COURT
                                  District of Delaware
                                          824 Market Street, 3rd Floor
                                            Wilmington, DE 19801
Una O'Boyle
Clerk of Court

To: James O'Neill
Pachulski Stang Ziehl & Jones LLP
919 North Market Street, 17th Floor
Wilmington, DE 19801




RE: 19−12220 Yueting Jia



    Please be advised that the United States Trustee's Office has filed a "Request to Schedule Section 341 Meeting".
The 341 Meeting for the above−mentioned case is to be scheduled on December 6, 2019 at 10:00 a.m. , J. Caleb Boggs
Federal Building, 844 King Street, Wilmington DE 19801.


     Please prepare the "Notice of Commencement of Chapter 11 Bankruptcy Case, Meeting of Creditors, and
Fixing of Certain Dates" (341 Notice). An electronic version of this form is available from the Court's website:
www.deb.uscourts.gov/content/forms. Should you want to make changes to this notice, you must contact Una
O'Boyle, Clerk of Court, for approval prior to mailing.


      Please mail the Notice to all creditors, in addition to the five (5) agencies listed below on or before 11/15/19
and file the Notice and Certificate of Service with the Court no later than 11/22/19.

Securities & Exchange Commission                          Secretary of State
100 F Street, NE                                          Division of Corporations
Washington, DC 20549                                      Franchise Tax
                                                          P.O. Box 898
Securities & Exchange Commission                          Dover, DE 19903
New York Regional Office
Attn: Andrew Calamari, Regional Director                  Delaware State Treasury
Brookfield Place                                          820 Silver Lake Blvd., Suite 100
200 Vesey Street, Suite 400                               Dover, DE 19904
New York, NY 10281−1022

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101−7346




Date: 10/18/19
                                                                     Una O'Boyle, Clerk of Court
(VAN−472)
